    Case 1:19-bk-11696-VK                              Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                Desc
                                                        Main Document    Page 1 of 43

                                                            United States Bankruptcy Court
                                                                   Central District of California
 In re     Peter M. Seltzer                                                                                         CaseNo.        1:19-bk-11696
                                                                                  Debtor(s)                         Chapter       _11_ _ _ _ _ _ _ _ __

                                                       LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case


Name and last known address or place of                            Security Class Number of Securities                        Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSIDP

        I, the of the named as the debtor in this case, declare under penalty of perjury that I have read the foregoing List
of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date       July 21, 2019                                                    Signature      /s/ Peter M. Seltzer
                                                                                           Peter M. Seltzer

                      Penalty for making a false statement of concealing property: Fine ofup to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                  STATEMENT OF RELATED CASES
                               INFORMATION REQUIRED BY LBR 1015-2
                UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s}.}
None

2.   (If petitioner is a partnership or joint venture} A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
     Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
     debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
     debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
     complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
     and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
     any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3.   (If petitioner is a corporation} A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
     of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
     of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
     or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
     such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
     still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
     A/B that was filed with any such prior proceeding(s}.}
None
4.   (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
     been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
     pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
     that was filed with any such prior proceeding(s}.}
None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at                                                          , California.                     Isl Peter M. Seltzer
                                                                                                       Peter M. Seltzer
Date:             _J_u~ly_2_1~,2_0_1_9_ _ _ _ _ _ __                                                   Signature of Debtor 1



                                                                                                        Signature of Debtor 2




                    This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 201 B                                                               Page 1               F 1015-2.1.STMT.RELATED.CASES
       Case 1:19-bk-11696-VK                                   Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                                      Desc
                                                                Main Document    Page 3 of 43
Fill in this information to identify your case:

Debtor 1                   Peter M. Seltzer
                           First Name                            Middle Name                          Last Name

Debtor2
(Spouse if, filing)        First Name                            Middle Name                          Last Name


United States Bankruptcy Court for the:                   CENTRAL DISTRICT OF CALIFORNIA

Case number           1:19-bk-11696
(If known)                                                                                                                                                        D    Check if this is an
                                                                                                                                                                       amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

•@IM Summarize Your Assets

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/8 ................................................................................................         $       2,550,000.00
                                                                                                                                                                            --------
        1b. Copy line 62, Total personal property, from Schedule A/8 .....................................................................................             $ _ _ _4~,5_4_8~,5_81_._oo_

        1c. Copy line 63, Total of all property on Schedule A/8 ...............................................................................................        $             7,098,581.00

•@t# Summarize Your Liabilities
                                                                                                                                                                     ••vourliabilitiesi      c
                                                                                                                                                                     :.Am9unfY~LJ.'.«:>w~:.r
2.      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                       $             3,707,064.00
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                               --------
 3.     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF................................ .                               $          0.00
                                                                                                                                                                            --------
        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF............................                                  $ _ _ _8_4_2~,6_3_5._00_


                                                                                                                                      Your total liabilities      I$ ____4:.,.,5_4.C...9--',_69_9_._o_o
•@IN Summarize Your Income and Expenses
 4.     Schedule I: Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule 1... ........................................................................... ..                  $                         0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                                $       22,648.11
                                                                                                                                                                            --------
•@IN Answer These Questions for Administrative and Statistical Records
 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
        D No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        •  Yes
 7.     What kind of debt do you have?

         D      Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

         •  Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of2
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                                                                                                                               11

:.ebt:r:m ::t::a::e:::~our Current Monthly Income; Copy your total curren::::::~::::ek:::n~ffi:i:~::~                           1 :••


    122A-1 Line 11: OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 _ _ _ _ _ _ __
                                                                                                                                ~--------~
9.    Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:

                                                                                                    :il)>t~Lcliiim ·· ·• ·.·
     r;f'.r:qme,,jfffi:!ij:~~biiefq/""Etf',;c9p}r,t1:1it9110Y111;1e:.-;:
      9a. Domestic support obligations (Copy line 6a.)                                                $ _ _ _ _ _ _0_.0_0_

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                       $ _ _ _ _ _ _0_.0_0_


                                                                                                          - - - - - -0.00
      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)             $
                                                                                                                     --
      9d. Student loans. (Copy line 6f.)                                                              $ _ _ _ _ _ _0_.0_0_

      9e. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 69.)                                                            $ _ _ _ _ _ _O_.O_O_

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)        +$ _ _ _ _ _ _0_._00_


      9g. Total. Add lines 9a through 9f.                                                         I$ _ _ _ _ _ _0_._o_o




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of2
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       Case 1:19-bk-11696-VK                                       Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                    Desc
                                                                    Main Document    Page 5 of 43
Fill in this information to identify your case and this filing:

Debtor 1                     Peter M. Seltzer
                             First Name                                 Middle Name                        Last Name

Debtor2
(Spouse, if filing)          First Name                                 Middle Name                        Last Name


United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

Case number            1:19-bk-11696                                                                                                                          D    Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately 11st and describe Items. List an asset only once. If an asset fits In more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   D No. Go to Part 2.
   •   Yes. Where is the property?




 1.1                                                                            What Is the property? Check all U,at apply
        4179 Prado de la Puma
        Street address, if available, or other description                        •D       Single-family home
                                                                                           Duplex or multi-unit building
                                                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                                                                                     the amount of any secured claims on Schedule D:
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative
                                                                                      D
                                                                                      D    Manufactured or mobile home
                                                                                                                                     Current value of the      Current value of the
        Calabasas                         CA        91302-0000                        D    Land                                      entire property?          portion you own?
        City                              State              ZIP Code                 D    Investment property                           $2,550,000.00               $2,550,000.00
                                                                                      D    Timeshare
                                                                                                                                     Describe the nature of your ownership interest
                                                                                      D    Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest In the property? Check one       a life estate), if known.

                                                                                      •    Debtor 1 only                             Fee simple
        Los Angeles                                                                   D    Debtor 2 only
        County                                                                        D    Debtor 1 and Debtor 2 only
                                                                                                                                     D   Check if this is community property
                                                                                      D    At least one of the debtors and another       (see instructions)

                                                                                other information you wish to add about this item, such as local
                                                                                property Identification number:

                                                                                Property is in disrepair because of smoke damage caused by the fire in
                                                                                November 2018 Woolsey fire.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
       pages you have attached for Part 1. Write that number here...........................................................................=>                    $2,550,000.00



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   •No
   DYes



Official Form 106NB                                                                       Schedule NB: Property                                                                   page 1
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Debtor 1        Peter M. Seltzer                                                                                     Case number (If known)      1 : 19-bk-11696

4. Watercraft, aircraft, motor homes, A TVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   •No
   DYes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
    .pages you have attached for Part 2. Write that number here.............................................................................=>                     $0.00

          Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    0No
    • Yes. Describe.....

                                    Beds, night tables, lamps, appliances, kitchen table and chairs,
                                    dining room table and chairs, televisions, computer, printer, and
                                    cell hones furniture was dama ed in the Woolse fire .                                                                      $10,500.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    •No
    D Yes. Describe .....

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
    •No
    D Yes. Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
              musical instruments
    •No
    D Yes. Describe .....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    •No
   D Yes. Describe .....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   ONo
    • Yes. Describe.....

                                   IUsed clothing for one adult and two children.                                                                                  $5,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    •No
    D Yes. Describe.....

13. Non-farm animals
      Examples: Dogs, cats, birds, horses
    •No
Official Form 106A/B                                                    Schedule A/B: Property                                                                         page2
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 Debtor 1          Peter M. Seltzer                                                                                          Case number (if known)   1:19-bk-11696

    D Yes. Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
    a No
    D Yes. Give specific information .....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                     $15,500.00




                                                                                                                                                        Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    •    No
    DYes................................................................................................................

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
    DNo
    •ves........................                                  Institution name:
                                                                                                Chase personal account (money held in trust
                                                                                                for insurance proceeds for property damage
                                              17.1.      Checking account                       to house and furniture)                                          $121,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   DNo
    aves................. .       Institution or issuer name:


                                                       Merrill account ending in 2257 (encumbered by mortgage
                                                       company).                                                                                                 $435,967.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
    •No
   D Yes. Give specific information about them ...................
                                Name of entity:                                                                               % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    •No
   D Yes. Give specific information about them
                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   DNo
    • Yes. List each account separately.
     ·                        Type of account:                                                  Institution name:

                                              IRA                                               Frost IRA                                                          $69,678.00




Official Form 106A/B                                                                     Schedule A/8: Property                                                            page3
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 Debtor 1        Peter M. Seltzer                                                                            Case number (if known)      1 :19-bk-11696

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities {electric, gas, water), telecommunications companies, or others
    •No
    D Yes. .....................                                          Institution name or individual:

23. Annuities {A contract for a periodic payment of money to you, either for life or for a number of years)
    •No
    DYes............ .             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530{b){1), 529A{b), and 529{b){1).
    •No
    DYes ............ .            Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 {c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    •No
    D Yes.     Give specific information about them ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    •No
    D Yes.     Give specific information about them ...

27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    •No
    D Yes. Give specific information about them ...
 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
    •No
    D Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, prope·rty settlement
    •No
    D Yes. Give specific information ......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
    •No
   D Yes.      Give specific information ..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   •No
   D Yes. Name the insurance company of each policy and list its value.
                              Company name:                                                        Beneficiary:                              Surrender or refund
                                                                                                                                             value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    •No
    D Yes.     Give specific information ..



Official Form 106A/B                                                 Schedule A/B: Property                                                                    page4
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Debtor 1        Peter M. Seltzer                                                                                                Case number (if known)        1 : 19-bk-11696

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
   0No
      • Yes. Describe each claim ........ .

                                                         Debtor is investigating a potential claim against ACC
                                                         Enterprises, LLC for accrued salary owed of $471,436 plus
                                                         accrued interest.                                                                                                 $471,436.00


                                                         Claim against Calavada Partners LLC for $2.5 million for
                                                         fraud suffered b Debtor.                                                                                        $2,500,000.00


                                                         Claim against ACG and Howard Misle for $900,000 plus
                                                         interest for ersonal guarantee via Jakdyl.                                                                        $900,000.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   •No
      D Yes.   Describe each claim ........ .

35. Any financial assets you did not already list
      •No
      D Yes.   Give specific information ..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................          $4,498,081.00


           Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   D No. Go to Part 6.
  •     Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
      •No
      D Yes.   Describe .....


39. Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      •No
      D Yes.   Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
   •No
      D Yes.   Describe ....•


41. Inventory
   •No
      D Yes.   Describe .....


42. Interests in partnerships or joint ventures
   •No

Official Form 106A/B                                                           Schedule A/B: Property                                                                                page5
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        Case 1:19-bk-11696-VK                                     Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                          Desc
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 Debtor 1          Peter M. Seltzer                                                                                                     Case number (if known)   1:19-bk-11696
    0       Yes. Give specific information about them ...................
                                       Name of entity:                                                                                    % of ownership:


43. Customer lists, mailing lists, or other compilations
   •     No.
   0     Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                 •No
                 0 Yes. Describe.....

44. Any business-related property you did not already list
       ONo
       •Yes.Give specific information ........ .



                                               2305 LLC                                                                                                                       $35,000.00



                                               Indiana Texas Management LLC {no value)                                                                                                $0.00



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................              $35,000.00

               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        •    No. Go to Part 7.
        0    Yes. Go to line 47.


                   Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    •No
    0 Yes. Give specific information ....... ..

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

m111111           List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $2,550,000.00
 56. Part 2: Total vehicles, line 5                                                                              $0.00
 57. Part 3: Total personal and household items, line 15                                                    $15,500.00
 58. Part 4: Total financial assets, line 36                                                             $4,498,081.00
 59. Part 5: Total business-related property, line 45                                                       $35,000.00
60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +              $0.00

 62. Total personal property. Add lines 56 through 61 ...                                                $4,548,581.00                Copy personal property total        $4,548,581.00

 63. Total of all property on Schedule A/8. Add line 55 + line 62                                                                                                      $7,098,581.00



Official Form 106A/B                                                               Schedule A/B: Property                                                                             page6
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      Case 1:19-bk-11696-VK                             Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                               Desc
                                                        Main Document    Page 11 of 43
Fill in this information to identify your case:

Debtor 1                 Peter M. Seltzer
                         First Name                       Middle Name                     Last Name
Debtor2
(Spouse if, filing)      First Name                       Middle Name                     Last Name

United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number          1:19-bk-11696
 (if known)                                                                                                                              D   Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/8: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

UtifflM Identify the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      • You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      D You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property. and line. on      . .Current value of the   · Amount ofth~ exemption you claim
             . .. A/8
      Schedule     . . thaUlsts
                           .    . this
                                   . . property
                                       .   .    ..•
                                                              portion you own              ·>··. •.:·   ·:·'. · '· ·· ·. · ··'·
                                                             Copythe value frQm      Checkor,/yqnf.boxforeacbexemption.
                                                           . Sct,edu/r; AIB ·   .

      4179 Prado de la Puma Calabasas,                             $2,550,000.00      •                              $75,000.00    C.C.P. § 704.730
      CA 91302 Los Angeles County
      Property is in disrepair because of                                             D     100% of fair market value, up to
      smoke damage caused by the fire in                                                    any applicable statutory limit
      November 2018 Woolsey fire.
      Line from Schedule A/8: 1.1

      Beds, night tables, lamps,                                     $10,500.00       •                              $10,500.00    C.C.P. § 704.020
      appliances, kitchen table and chairs,
      dining room table and chairs,                                                   D     100% of fair market value, up to
      televisions, computer, printer, and                                                   any applicable statutory limit
      cell phones (furniture was damaged
      in the Woolsey fire).
      Line from Schedule AIB: 6.1

      Used clothing for one adult and two                             $5,000.00       •                                $5,000.00   C.C.P. § 704.020
      children.
      Line from Schedule A/8: 11.1                                                   D      100% affair market value, up to
                                                                                            any applicable statutory limit

      IRA: Frost IRA                                                 $69,678.00       •                              $69,678.00    C.C.P. § 704.115(a)(1) & (2),
      Line from Schedule A/8: 21.1                                                                                                 (b}
                                                                                     D      100% of fair market value, up to
                                                                                            any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of2
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Debtor 1    Peter M. Seltzer                                                                   Case number (if known)      1:19-bk-11696
3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
     •     No
     D     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           D      No
           D      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                               page2 of2
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       Case 1:19-bk-11696-VK                             Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                   Desc
                                                         Main Document    Page 13 of 43
 Fill in this information to identify your case:

Debtor 1                    Peter M. Seltzer
                            First Name                     Middle Name                       Last Name
 Debtor2
 (Spouse If, filing)        First Name                     Middle Name                       Last Name

 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA


 Case number           1:19-bk-11696
 (if known)                                                                                                                                   D   Check if this is an
                                                                                                                                                  amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additlonal Page, fill It out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have clalms secured by your property?

       D No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       •Yes.Fill in all of the information below.

•@IN List All Secured Claims
                                                                                                            Column A               Co/umnB                 ColumnC
 2. List all secured claims. If a creditor has more than one secured claim. list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor's name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
[2:I] Bankamerica                                 Describe the property that secures the claim:             $1,853,532.00            $2,550,000.00                      $0.00
         CredHo(s Name                            4179 Prado de la Puma Calabasas,
                                                  CA 91302 Los Angeles County
                                                  Property is in disrepair because of
                                                  smoke damage caused by the fire in
                                                  November 2018 Woolsey fire.
                                                  As of the date you file, the claim is: Check all that
         4909 Savarese Circle                     apply.
         Tampa, FL 33634                          D Contingent
         Number, Street, City, State & Zip Code   D Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.

 •   Debtor 1 only                                •   An agreement you made (such as mortgage or secured
 D Debtor 2 only                                       car loan)
 D Debtor 1 and Debtor 2 only                     D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another        D Judgment lien from a lawsult
 D Check If this claim relates to a               D Other (including a right to offset)
      community debt

                                 Opened
                                 03/08 Last
                                 Active
Date debt was Incurred           6/04/19                 Last 4 digits of account number          1912
                                                                                                 --------




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
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       Case 1:19-bk-11696-VK                               Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                            Desc
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Debtor 1 Peter M. Seltzer                                                                                   Case number (rr known)   1:19-bk-11696
               First Name                  Middle Name                     Last Name



f2]      Bankamerica
         Credltofs Name
                                                    Describe the property that secures the claim:               $1,853,532.00           $435,967.00
                                                                                                                                                      $1,417,565.0
                                                                                                                                                                 0
                                                    Merrill account ending in 2257
                                                    (encumbered by mortgage
                                                    company).
                                                    As of the date you file, the claim is: Check all that
         4909 Savarese Circle                       apply.
         Tampa, FL 33634                            D Contingent
         Number, Street, City, State & Zip Code     D Unliquidated
                                                    D Disputed
Who owes the debt? Check one.                       Nature of lien. Check all that apply.

 •    Debtor 1 only                                 •    An agreement you made (such as mortgage or secured
 D Debtor 2 only                                          car loan)

 D Debtor 1 and Debtor 2 only                       D Statutory lien (such as tax lien, mechanic's lien)
 D At least one of the debtors and another          D Judgment lien from a lawsuit
 D Check if this claim relates to a                 D Other (including a right to offset)
       community debt

                                 Opened
                                 03/08 Last
                                 Active
 Date debt was incurred          6/04/19                    Last 4 digits of account number         1912
                                                                                                   --------


     Add the dollar value of your entries in Column A on this page. Write that number here:                             $3,707,064.00
     If this is the last page of your form, add the dollar value totals from all pages.
     Write that number here:
                                                                                                                        $3,707,064.00

1:tfifW List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe ti> someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of2
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Fill in this information to identify your case:

Debtor 1                  Peter M. Seltzer
                          First Name                       Middle Name                        Last Name

Debtor 2
(Spouse if, filing)       First Name                       Middle Name                        Last Name


United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

Case number           1:19-bk-11696
(if known)                                                                                                                                           D    Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AIB: Property (Official Form 106AIB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
•:Qif@ List All of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?

      •    No. Go to Part 2.
      DYes.
•it'.fifW List All of Your NONPRIORITY Unsecured Claims
 3.   Do any creditors have nonpriority unsecured claims against you?

      D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      •Yes.

 4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list cl.aims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                               Total claim

~            ACC Enterprises LLC                                     Last 4 digits of account number                                                                            $0.00
             Nonpriority Creditor's Name
             1261 E. Calavada Street                                 When was the debt incurred?
             Pahrump, NV 89148
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                                                                     •   Contingent
             •   Debtor 1 only
                                                                     •   Unliquidated
             D Debtor 2 only
             D Debtor 1 and Debtor 2 only                            •   Disputed
                                                                     Type of NONPRIORITY unsecured claim:
             D At least one of the debtors and another
             D Check if this claim is for a community                D Student loans
             debt                                                    D Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

             DNo                                                     D Debts to pension or profit-sharing plans, and other1.imilar debts
             •Yes                                                    •   Other. Specify
                                                                                          --------------------




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                    Page 1 of&
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Debtor 1 Peter M. Seltzer                                                                             Case number (if known)         1:19-bk-11696

0         ACC Enterprises LLC
          Nonpriority Creditor's Name
                                                                   Last 4 digits of account number       5694
                                                                                                        ------                                                $0.00

          c/o Michael I. Wayne                                     When was the debt incurred?
          Law Offices of Michael I. Wayne
          APC
          149 So. Barrington Ave., No. 143
          Los Angeles, CA 90049
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.
                                                                   •   Contingent
          •   Debtor 1 only
                                                                   •   Unliquidated
          D Debtor 2 only
          D Debtor 1 and Debtor 2 only                             •   Disputed
                                                                   Type of NONPRIORITY unsecured claim:
          D At least one of the debtors and another
          D Check if this claim is for a community                 D Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          DNo                                                      D Debts to pension or profit-sharing plans, and other similar debts
                                                                                        Business dispute removed from LASC
          •ves                                                     •   Other. Specify   Case No. 19STCV20438


0         Ally Financial
          Nonpriority Creditor's Name
                                                                   Last 4 digits of account number       9319
                                                                                                        ------                                         $18,591.00

                                                                                                         Opened 11/14 Last Active
          P.o. Box 380901                                          When was the debt incurred?           6/19/19
          Bloomington, MN 55438
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          •   Debtor 1 only                                        D Contingent
          D Debtor 2 only                                          D Unliquidated
          D Debtor 1 and Debtor 2 only                             D Disputed
          D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

          D Check if this claim is for a community                 D Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          .No                                                      D Debts to pension or profit-sharing plans, and other similar debts
          Dves                                                     •   Other. Specify
                                                                                        -Automobile
                                                                                          -------------------
0         Ally Financial
          Nonpriority Creditor's Name
                                                                   Last 4 digits of account number      _5_5_3_3____                                     $1,032.00

                                                                                                         Opened 10/14 Last Active
          P .o. Box 380901                                         When was the debt incurred?           9/13/17
          Bloomington, MN 55438
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          •   Debtor 1 only                                        D Contingent
          D Debtor 2 only                                          D Unliquidated
          D Debtor 1 and Debtor 2 only                             D Disputed
          D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

          D Check if this claim is for a community                 D Student loans
          debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

          .No                                                      D Debts to pension or profit-sharing plans, and other similar debts
          Dves                                                     •   Other. Specify
                                                                                        -Lease
                                                                                          -------------------



Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 6
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Debtor 1 Peter M. Seltzer                                                                               Case number (if known)        1:19-bk-11696

~         Citicards Cbna                                            Last 4 digits of account number       6116
                                                                                                         ------                                             $126.00
          Nonpriority Creditor's Name
                                                                                                          Opened 11/91 Last Active
          PoBox6217                                                 When was the debt incurred?           5/15/19
          Sioux Falls, SD 57117
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.

          •   Debtor 1 only                                         D Contingent
          D Debtor 2 only                                           D Unliquidated
          D Debtor 1 and Debtor 2 only                              D Disputed
          D At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

          D Check if this claim is for a community                  D Student loans
          debt                                                      D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          •   No                                                    D Debts to pension or profit-sharing plans, and other similar debts
          DYes                                                      •   Other. Specify
                                                                                         -Credit
                                                                                           - - -Card
                                                                                                 ----------------
0         Darren Kessler
          Nonpriority Creditor's Name
                                                                    Last 4 digits of account number       0346
                                                                                                         ------                                       $800,000.00

          c/o H. Mark Madnick, Esq.                                 When was the debt incurred?
          Kramar Madnick LLP
          16133 Ventura Blvd., Suite 585
          Encino, CA 91436
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.
                                                                    •   Contingent
          •   Debtor 1 only
                                                                    •   Unliquidated
          D Debtor 2 only
          D Debtor 1 and Debtor 2 only                              •   Disputed
                                                                    Type of NONPRIORITY unsecured claim:
          D At least one of the debtors and another
          D Check if this claim is for a community                  D Student loans
          debt                                                      D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          DNo                                                       D Debts to pension or profit-sharing plans, and other similar debts
          •Yes                                                      •   Other. Specify   Business dispute


0         Fidelity Creditor Serv
          Nonpriority Creditor's Name
                                                                    Last 4 digits of account number       1234
                                                                                                         ------                                             $183.00

          441 N Varney St                                           When was the debt incurred?          _O~p_e_n_e_d_0_8_/_1_5_ _ _ _ _ _ __
          Burbank, CA 91502
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.

          •   Debtor 1 only                                         D Contingent
          D Debtor 2 only                                           D Unliquidated
          D Debtor 1 and Debtor 2 only                              D Disputed
          D At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

          D Check if this claim is for a community                  D Student loans
          debt                                                      D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          •   No                                                    D Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Collection Attorney Biodata Medical
          DYes                                                      •   Other. Specify   Laboratory
                                                                                         -----~--------------




Official Fonn 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of6
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 Debtor 1 Peter M. Seltzer                                                                             Case number (if known)        1:19-bk-11696

~               Garman Turner Gordon LLP                           Last 4 digits of account number _2_5_0--"-B____                                            $0.00
                Nonpriority Creditor's Name
                Attn: Erika Pike Turner                            When was the debt incurred?
                650 White Drive, Suite 100
                Las Vegas, NV 89119
                Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                                                                   •   Contingent
                •   Debtor 1 only
                                                                   •   Unliquidated
                D Debtor 2 only
                D Debtor 1 and Debtor 2 only                       • Disputed
                                                                   Type of NONPRIORITY unsecured claim:
                D At least one of the debtors and another
                D Check if this claim Is for a community           D Student Joans
                debt                                               D Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                    report as priority claims

                0No                                                D Debts to pension or profit-sharing plans, and other similar debts
                •ves                                               •   Other. Specify   Business dispute


0               Howard Misle
                Nonpriority Creditor's Name
                                                                   Last 4 digits of account number _2_5_0_B_ _ __                                             $0.00

                c/o Garman Turner Gordon LLP                       When was the debt incurred?
                Attn: Erika Pike Turner
                650 White Drive, Suite 100
                Las Vegas, NV 89119
                Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                                                                   •   Contingent
                •   Debtor 1 only
                                                                   •   Unliquidated
                D Debtor 2 only
                D Debtor 1 and Debtor 2 only                       •   Disputed
                                                                   Type of NONPRIORITY unsecured claim:
                D At least one of the debtors and another
                D Check if this claim is for a community           D Student Joans
                debt                                               D Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                    report as priority claims

                DNo                                                D Debts to pension or profit-sharing plans, and other similar debts
                •ves                                               •   Other. Specify    Business dispute


        1
j ci"       I   Jpmcb Card                                         Last 4 digits of account number       5840
                                                                                                        ------
                                                                                                                                                       $19,031.00
                Nonpriority Creditor's Name
                                                                                                         Opened 05/97 Last Active
                Po Box 15298                                       When was the debt incurred?           5/15/19
                Wilmington, DE 19850
                Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.

                •   Debtor 1 only                                  D Contingent
                D Debtor 2 only                                    D Unliquidated
                D Debtor 1 and Debtor 2 only                       D Disputed
                D At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

                D Check if this claim is for a community           D Student Joans
                debt                                               D Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                    report as priority claims

                .No                                                D Debts to pension or profit-sharing plans, and other similar debts
                Dves                                               •   Other. Specify
                                                                                        -Credit
                                                                                          - - -Card
                                                                                                ----------------




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 6
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          Case 1:19-bk-11696-VK                              Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                 Desc
                                                             Main Document    Page 19 of 43
Debtor 1 Peter M. Seltzer                                                                                   Case number (if known)          1:19-bk-11696

[rJ           Td Auto Finance
              Nonpriority Creditor's Name
                                                                       Last 4 digits of account number       5738
                                                                                                            ------
                                                                                                                                                                $3,672.00

                                                                                                              Opened 09/14 Last Active
              Po Box9223                                               When was the debt incurred?            8/10/17
              Farmington Hills, Ml 48333
              Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              •   Debtor 1 only                                        D Contingent
              D Debtor 2 only                                          D Unliquidated
              D Debtor 1 and Debtor 2 only                             D Disputed
              D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              D Check if this claim Is for a community                 D Student loans
              debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                          report as priority claims

              .No                                                      D Debts to pension or profit-sharing plans, and other similar debts

                                                                                              -Automobile
              DYes                                                     •     Other. specify
                                                                                                -------------------
      1
,~-       I   TimothyWiseman                                           Last 4 digits of account number                                                                $0.00
              Nonpriority Creditor's Name
              Morris Law Center                                        When was the debt incurred?
              5450 W. Sahara Ave., Suite 330
              Las Vegas, NV 89146
              Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.

              •   Debtor 1 only                                        D Contingent
              D Debtor 2 only                                          D Unliquidated
              D Debtor 1 and Debtor 2 only                             D Disputed
              D At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              D Check if this claim is for a community                 D Student loans
              debt                                                     D Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                          report as priority claims

              .No                                                      D Debts to pension or profit-sharing plans, and other similar debts
              DYes                                                     •     Other. Specify
                                                                                              --------------------
•=EfilW List others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

•=EfiCW Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This Information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
      type of unsecured claim.

                                                                                                                                     Total Claim
                         6a.      Domestic support obligations                                                6a.
                                                                                                                            - - - - - - - -0.00
                                                                                                                       $
                                                                                                                                           --
        Total
      claims
  from Part 1            6b.                                                                                  6b.
                                                                                                                            - - - - - - - -0.00
                                  Taxes and certain other debts you owe the government                                 $
                         6c.      Claims for death or personal injury while you were intoxicated              6c.
                                                                                                                                           --
                                                                                                                        $
                                                                                                                            -----------
                                                                                                                                                   0.00
                         6d.      Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                           0.00

                         6e.      Total Priority. Add lines 6a through 6d.                                    6e.       $ _______                  o_.o_o_
                                                                                                                                     Total Claim
                         6f.      Student loans                                                               6f.
                                                                                                                            - - - - - - - -0.00
                                                                                                                        $
        Total                                                                                                                              --
      claims
  from Part2             6g.      Obligations arising out of a separation agreement or divorce that           6g.       $                          0.00

Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 5 of 6
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                                             Best Case Bankruptcy
      Case 1:19-bk-11696-VK                              Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                      Desc
                                                         Main Document    Page 20 of 43
 Debtor 1 Peter M. Seltzer                                                                           Case number (it known)   1:19-bk-11696
                              you did not report as priority claims
                        6h.   Debts to pension or profit-6haring plans, and other similar debts        6h.
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                                                                                                                $
                                                                                                                    - - - - - - - -0.00
                                                                                                                                    --
                              here.                                                                             $             842,635.00
                                                                                                                    ----------
                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             842,635.00




Official Fann 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of&
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                              Best Case Bankruptcy
       Case 1:19-bk-11696-VK                             Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                    Desc
                                                         Main Document    Page 21 of 43
Fill in this information to identify your case:

Debtor 1                Peter M. Seltzer
                        First Name                         Middle Name         Last Name
Debtor2
(Spouse if, filing)     First Name                         Middle Name         Last Name

United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number           1:19·bk·11696
(if known)                                                                                                                   D    Check if this is an
                                                                                                                                  amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
       D No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       •Yes.Fill in all of the information below even if the contacts of leases are listed on Schedule AIB:Property {Official Form 106 NB).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease             State what .the contract or lease is for
                        Name, Number, Street, City, State and ZIP Code

     2.1      GM Financial Leasing                                                  2017 GMC Truck Acadia
              PO Box 100
              Williamsville, NY 14231

     2.2      Hyundai Capital Americ                                                Accf.#.1814140216
              10550 Talbert Av                                                      Opened 10/18
              Fountain Valley, CA 92708                                             Lease 2018 Hyundai Elantra




Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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      Case 1:19-bk-11696-VK                                     Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                        Desc
                                                                Main Document    Page 22 of 43
Fill in this information to identify your case:

Debtor 1                   Peter M. Seltzer
                           First Name                            Middle Name       Last Name
Debtor2
(Spouse if, filing)        First Name                            Middle Name       Last Name

United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

Case number            1:19-bk-11696
(if known)                                                                                                                D   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      •No
      DYes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      • No. Go to line 3.
      D Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, listall of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, Stale and ZIP Code                                      Check all schedules that apply:

                                                                                                   D Schedule D, line
                Name
                                                                                                   D Schedule E/F, line
                                                                                                   D Schedule G, line
                Number            Street
                City                                     State                     ZIP Code



                                                                                                   D Schedule D, line
                Name
                                                                                                   D Schedule E/F, line
                                                                                                   D Schedule G, line
                Number            Street
                City                                     State                     ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                   Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                        Best Case Bankruptcy
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Fill in this information to identif   our case:

Debtor 1                      Peter M. Seltzer

Debtor2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               1:19-bk-11696                                                                Check if this is:
(If known)
                                                                                                       D   An amended filing
                                                                                                       D   A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:
Official Form 1061                                                                                         MM/DD/YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

lttil                 Describe Employment

 1.    Fill in your employment
       information.
       If you have more than one job,                              • Employed                                 D Employed
       attach a separate page with           Employment status
       information about additional                                D Not employed                             D Not employed
       employers.
                                             Occupation            Self employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       4179 Prado de la Puma

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                   Calabasas, CA 91302

                                             How long employed there?         1 year

l@f                   Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.




       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.     $             0.00        $             N/A
                                                                                                      ------                    ------

3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00        +$            NIA

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $ _ _ _o_._oo_        II       $ _ _ _N_/A_




Official Form 1061                                                      Schedule I: Your Income                                                 page 1
     Case 1:19-bk-11696-VK                                                    Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                                         Desc
                                                                              Main Document    Page 24 of 43


Debtor 1     Peter M. Seltzer                                                                                                                               Case number (if known)   1: 19-bk-11696


                                                                                                                                                             EoiDebtor1

     Copy line 4 here ___________________________ -----------------------------------------------------------------------------------------------    4.

5.   List all payroll deductions:
     5a.       Tax, Medicare, and Social Security deductions                                                                                         5a.     $                0.00     $              NIA
     5b.       Mandatory contributions for retirement plans                                                                                          5b.     $                0.00     $              NIA
     5c.       Voluntary contributions for retirement plans                                                                                          5c.     $                0.00     $              NIA
     5d.       Required repayments of retirement fund loans                                                                                          5d.     $                0.00     $              NIA
     5e.       Insurance                                                                                                                             Se.     $                0.00     $              NIA
     5f.        Domestic support obligations                                                                                                         Sf.     $                0.00     $              NIA
     Sg.        Union dues                                                                                                                           Sg.     $                0.00     $              NIA
     Sh.        Other deductions. Specify:                                                                                                           Sh.+    $                0.00 +   $              NIA
6.   Add the payroll deductions. Add lines Sa+Sb+5c+Sd+Se+5f+Sg+5h.                                                                                  6.     $                 0.00     $              NIA
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                                             7.     $                 0.00     $              NIA
8.   List all other income regularly received:
     Sa. Net income from rental property and from operating a business,
            profession, or farm
               Attach a statement for each property and business showing gross
               receipts, ordinary and necessary business expenses, and the total
               monthly net income.                                                                                                                   Ba.     $                0.00     $              NIA
     Sb.        Interest and dividends                                                                                                               Sb.     $                0.00     $              NIA
     Sc.        Family support payments that you, a non-filing spouse, or a dependent
                regularly receive
                Include alimony, spousal support, child support, maintenance, divorce
                settlement, and property settlement.                                                                                                 Sc.     $                0.00     $              NIA
     8d.        Unemployment compensation                                                                                                            8d.     $                0.00     $              NIA
     Se.        Social Security                                                                                                                      Se.     $                0.00     $              NIA
     Sf.        Other government assistance that you regularly receive
                Include cash assistance and the value (if known) of any non-cash assistance
                that you receive, such as food stamps (benefits under the Supplemental
                Nutrition Assistance Program) or housing subsidies.
                Specify:                                                        $         0.00   $                                                   Sf.                                              NIA
                                                                                $-----
                Pension o-r-re-t-ir-em-e-nt_i_n_c_o_m_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 89.
     8g.                                                                                  0.00   $                                                                                                    NIA
     Sh.        Other monthly income. Specify: - - - - - - - - - - - - - - Sh.+ $ _ _ _ __0.00 + $                                                                                                    NIA

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                                        9. 1 $ ~ ~o.oo
                                                                                                                                                                - 1 1$                                 NIAi

1O. Calculate monthly income. Add line 7 + line 9.                                                                                                                     o.oo
                                                                                                                                                    10., $ _ _ _ _-II+/$                   NIAi =/ $            o.oo/
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.



                                                                                                                                                                                                  D
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                                                                            0.00

12. Add the amount in the last column ofline 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                                                 12.   $             0.00
                                                                                                                                                                                                  Combined
                                                                                                                                                                                                  monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     D            No.
     •            Yes. Explain:               Debtor is living off of savings and anticipates obtaining famly assistance. Debtor is also optimistic
                                              about earnin throu h business transactions.




Official Form 1061                                                                                                     Schedule I: Your Income                                                                page2
     Case 1:19-bk-11696-VK                        Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                           Desc
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Fill in this information to identify your case:

Debtor 1                 Peter M. Seltzer                                                                   Check if this is:
                                                                                                            D An amended filing
Debtor2                                                                                                     D A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                          MM/DD/YYYY

Case number           1: 19-bk-11696
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number {if known). Answer every question.

•Al          Describe Your Household
1.    Is this a joint case?
      • No. Go to line 2.
      D Yes. Does Debtor 2 live in a separate household?
                DNo
                D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?             D No
      Do not list Debtor 1 and                     Fill out this information for    Dependent's relationship to     Dependent's      Does dependent
                                          •Yes.    each dependent. ............ .   Debtor 1 or Debtor 2            age              live with you?
      Debtor 2.

      Do not state the                                                                                                               ONo
      dependents names.                                                             son                             15               •Yes
                                                                                                                                     ONo
                                                                                    son                             17               •Yes
                                                                                                                                     ONo
                                                                                                                                     DYes
                                                                                                                                     ONo
                                                                                                                                     DYes
3.    Do your expenses include                   •No
      expenses of people other than
      yourself and your dependents?              DYes

•Af        Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value .of such assistance and have included it on Schedule I: Your Income
{Official Form 1061.)

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                    14,394.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.  $                      2,600.00
      4b. Property, homeowner's, or renter's insurance                                                     4b.  $                        359.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.  $                        260.00
      4d. Homeowner's association or condominium dues                                                      4d.  $                        377.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5. $                          0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                       page 1
     Case 1:19-bk-11696-VK                        Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                                   Desc
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Debtor 1     Peter M. Seltzer                                                                        Case number (if known)       1:19-bk-11696

6.     Utilities:
       6a. Electricity, heat, natural gas                                                                  ·6a.   $                             500.00
       6b. Water, sewer, garbage collection                                                                 6b.   $                             100.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                   6c.   $                             370.00
       6d. Other. Specify: Direct TV                                                                        6d.   $                             120.00
7.     Food and housekeepi-ng_s_u-pp-l~ie_s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                             7.   $                           1,250.00
8.     Childcare and children's education costs                                                              8.   $                               0.00
9.     Clothing, laundry, and dry cleaning                                                                  9.    $                               0.00
10.    Personal care products and services                                                                 10.    $                              50.00
11.    Medical and dental expenses                                                                         11.    $                              60.00
12;    Transportation. Include gas, maintenance, bus or train fare.
       Do not include car payments.                                                                        12. $                                 350.00
13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                  13. $                                  50.00
14.    Charitable contributions and religious donations                                                    14. $                                   0.00
15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                15a.    $                 0.00
       15b. Health insurance                                                                              15b.    $              531.85
                                                                                                                  $ _ _ _ _ _ _ _2_3_5-.0-0
       15c. Vehicle insurance                                                                             15c.
       15d. Other insurance. Specify:                                                                     15d.    $                                 0.00
                                      c-c----c--=------~--,~-c-c~-~-~---
16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                             16. $                                   0.00
17. lnstallme_n_t_o_r~le_a_s_e_p_a_ym_e-nts_:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       17a. CarpaymentsforVehicle 1                                                                       17a. $                                 325.00
       17b. Car payments for Vehicle 2                                                                    17b. $                                 716.26
       17c. Other. Specify: - - - - - - - - - - - - - - - - - - - - - 17c. $                                                                       0.00
       17d. Other.Specify: - - - ~ - - - ~ - - ~ ~ - - ~ ~ - - ~ - - 1 7 d . $                                                                     0.00
18.    Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).        18. $                                                 0.00
 19.   Other payments you make to support others who do not live with you.                        $                                                 0.00
       Specify:                                                                               19.
20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                     20a. $                                                  0.00
       20b. Real estate taxes                                                               20b. $                                                  0.00
       20c. Property, homeowner's, or renter's insurance                                    20c. $                                                  0.00
       20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                  0.00
       20e. Homeowner's association or condominium dues                                     20e. $                                                  0.00
21.    Other: Specify:                                                                        21. +$                                                0.00
                                                                                                                  ------------~
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                   22,648.11
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
                                                                                                                      $----------
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                   22,648.11
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a. $                     0.00
    23b. Copy your monthly expenses from line 22c above.                                                                      22~,6_4_8_.1_1
                                                                                                          23b. -$ _ _ _ _ _ _ _

       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                        23c.    l~$_______-_22_,6_4_8_.1_1~
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
    modification to the terms of your mortgage?
       •No.
       DYes.            I Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                    page2
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 Fill in this information to identify your case:

 Debtor 1                    Peter M. Seltzer
                             First Name                    Middle Name             Last Name
 Debtor2
 (Spouse if, filing)         First Name                    Middle Name             Last Name

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number              1:19-bk-11696
 (if known)                                                                                                                  D   Check if this is an
                                                                                                                                 amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         •      No

        D       Yes. Name of person                                                     Attach Bankruptcy Petition Preparers Notice,
                                          - - - - - - - - - - - - - - - - - - - - - - - Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I d e c l ~ v e read the summary and schedules filed with this declaration and
       that they are true and correct. r-~~~

        X Isl Peter M. Seltzer
          Peter M. Seltzer
                                               -~-         _        ··~   ~~       X
                                                                                       -S~i-gn_a_t-ur_e_o_f_D_e-bt_o_r_2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Signature of Debtor 1

              Date       July 21, 2019                                                 Date




Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Peter M. Seltzer
                          First Name                      Middle Name                  Last Name
Debtor2
(Spouse if, filing)       First Name                      Middle Name                  Last Name

United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number          1:19-bk-11696
(if known)                                                                                                                              D   Check if this is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

UEfilM Give Details About Your Marital Status and Where You Lived Before
1.    What is your current marital status?

      D       Married
      •       Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

       •      No
      D       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

          Debtor 1 Prior Address:                             Dates Debtor 1              Debtor 2·Prior Address:                               Dates Debtor 2
                                                              lived there                                                                       lived there

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

      •       No
      D       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

•ifM            Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      D       No
      •       Yes. Fill in the details.

                                                ··Debtor.1                                                       Debtor2
                                                 Sources of income                Gross income                  Sources of income               Gross income
                                                 Check all that apply.            (before deductions and        Check all that apply.           (before deductions
                                                                                  exclusions)                                                   and exclusions)

From January 1 of current year until                                                                 $0.00       D Wages, commissions,
                                                 • Wages, commissions,
the date you filed for bankruptcy:                                                                               bonuses, tips
                                                 bonuses, tips

                                                 D Operating a business                                          D Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                                      Best Case Bankruptcy
      Case 1:19-bk-11696-VK                               Doc 10 Filed 07/21/19 Entered 07/21/19 20:22:19                                             Desc
                                                          Main Document    Page 29 of 43
Debtor 1      Peter M. Seltzer                                                                             Case number (ifl<nown)
                                                                                                                                    -1:19-bk-11696
                                                                                                                                      ------------


                                                   Debtor 1                                                        C>ebtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

For last calendar year:                            • Wages, commissions,                       $250,000.00         D Wages, commissions,
(January 1 to December 31, 2018)                                                                                   bonuses, tips
                                                   bonuses, tips

                                                   D Operating a business                                          D Operating a business

For the calendar year before that:                 • Wages, commissions,                        $18,000.00         D Wages, commissions,
(January 1 to December 31, 2017)                                                                                   bonuses.tips
                                                   bonuses, tips

                                                   D Operating a business                                          D Operating a business

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4 .

      •     No
      D     Yes. Fill in the details.

                                                   Debtor1                                                         Debtor.2.
                                                   Sources of income                Gross income from              Sources of income             Gross income
                                                   Describe below.                  each source                    Describe below.               (before deductions
                                                                                    (before deductions and                                       and exclusions)
                                                                                    exclusions)

•@fW List Certain Payments You Made Before You Filed for Bankruptcy
6.    Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
      •     No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as "incurred by an
                    individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                     •   No.       Go to line 7.
                     D   Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     • Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

      D     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     D   No.       Goto line 7.
                     D   Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount         Amount you         Was this payment for ...
                                                                                                     paid           still owe




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 Debtor 1      Peter M. Seltzer                                                                            Case number (ff known)    1:19-bk-11696
                                                                                                                                     -------------



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

      •      No
      D      Yes. List all payments to an insider.
          Insider's Name and Address                            Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      •      No
      D      Yes. List all payments to an insider
          Insider's Name and Address                             Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name '

•ilfflCM Identify Legal Actions, Repossessions, and Foreclosures
9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      D      No

      •      Yes. Fill in the details.
          Case title                                             Nature of the case         Court or agency                          Status of the case
          Case number
          Peter Seltzer, et al. v. ACC
          Enterprises LLC, et al.
          2:19 •CV• 05694
                                                                 Civil                      USDC, Central Dist. of
                                                                                            California
                                                                                            255 E. Temple Street
                                                                                                                                     •
                                                                                                                                     D
                                                                                                                                         Pending
                                                                                                                                         On appeal

                                                                                            Los Angeles, CA 90012
                                                                                                                                     D   Concluded


          Darren Kessler v. Pete Seltzer and
          Does 1 through 30, inclusive.
          19VECV00346
                                                                Civil                       Van Nuys Courthouse East
                                                                                            6230 Sylmar Ave.
                                                                                            Van Nuys, CA 91401
                                                                                                                                     •
                                                                                                                                     D
                                                                                                                                         Pending
                                                                                                                                         On appeal
                                                                                                                                     D   Concluded


       ACC Enterprises LLC v. Peter
       Seltzer, et al.
       CV40217
                                                                Civil                       District Court Nye County
                                                                                            Nevada
                                                                                            1520 E. Basin Ave. #105
                                                                                                                                     •
                                                                                                                                     D
                                                                                                                                         Pending
                                                                                                                                         On appeal

                                                                                            Pahrump, NV 89060
                                                                                                                                     D   Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      •      No. Go to line 11.
      D      Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                .Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
      •      No
      D      Yes. Fill in the details.
          Creditor Name and Address                             Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken


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Debtor 1       Peter M. Seltzer                                                                           Case number (if known) _1_:_1_9_·b_k_•_1_1_69_6_ _ _ _ __



12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
      •      No
      D      Yes

•GIW List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    •   No
    D Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                            the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
      a No
    D Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total               Describe what you contributed                            Dates you                          Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street. City, State and ZIP Code)

i:ffllM List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      •      No
      D      Yes. Fill in the details.
          Describe the property you lost and               Describe any insurance coverage for the loss                      Date of your         Value of property
          how the.loss occurred                                                                                              loss                              lost
                                                           Include the amount that insurance has paid. List pending
                                                           insuranc:e claims on line 33 of Schedule AIB: Property.

1:ffifM List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      D      No
      •      Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment                Amount of
       Address                                                      transferred                                              or transfer was              payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
      Law Offices of Michael H. Raichelson                          Attorney Fees of $5,000 plus filing fee.                 7/8/19                      $6,600.00
      21900 Burbank Blvd.
      Suite 300
      Woodland Hills, CA 91367
      mhr@cabkattorney.com




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Debtor 1      Peter M. Seltzer                                                                            Case number (if known)    1:19-bk-11696


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16 .

      •     No
      D     Yes. Fill in the details.
      Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
      Address                                                       transferred                                              or transfer was             payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
    •    No
    D Yes. Fill in the details.
      Person Who Received Transfer                                  Description and value of                  Describe any property or         Date transfer was
      Address                                                       property transferred                      payments received or debts       made
                                                                                                              paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
    •   No
    D Yes. Fill in the details.
     Name of trust                                      Description and value of the property transferred                      Date Transfer was
                                                                                                                               made

Hifil:W List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions •
    •    No
    D Yes. Fill in the details.
     Name of Financial Institution and            Last 4 digits of       Type of account or       Date account was               Last balance
     Address (Number, Street, City, State and ZIP account number         instrument               closed, sold,              before closing or
     Code)                                                                                        moved,or                             transfer
                                                                                                  transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

      •     No
      D     Yes. Fill in the details.
      Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
      Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                    State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      •     No
      D     Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                       have it?
                                                                    Address (Number, Street, City,
                                                                    State and ZIP Code)




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Debtor 1         Peter M. Seltzer                                                                               Case number (if known)   1:19-bk-11696


•tfifM Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone .

      •       No
      D       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                               Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

itfil1tM Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

•     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
•     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
•     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      •       No
      D       Yes. Fill in the details.
          Name of site                                               Governmental unit                              Environmental law, if you        Date of notice
          Address (Number, Street, City, State and ZIP Code)         Address (Number, street, City, state and       know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

      •       No
      D       Yes. Fill in the details.
       Name of site                                                  Governmental unit                              Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, street, City, State and       knowit
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders •

      •       No
      D       Yes. Fill in the details.
       Case.Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,.
                                                                     State and ZIP. Codej

itfillM Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              DA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

              • A member of a limited liability company (LLC) or limited liability partnership (LLP)

              D A partner in a partnership

              D An officer, director, or managing executive of a corporation

              D An owner of at least 5% of the voting or equity securities of a corporation




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Debtor 1        Peter M. Seltzer
                                                                                                                                    -1 :19-bk-11696
                                                                                                                                       ------------


      D      No. None of the above applies. Go to Part 12.

      •      Yes. Check all that apply above and fill in the details below for each business.
        Business .Name                                          Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
          ITM                                                                                                    EIN:         82-418176

                                                                                                                 From-To

        2305 LLC                                                                                                 EIN:         XX-XXXXXXX

                                                                                                                 From-To

        JakdylLLC                                                                                                EIN:         XX-XXXXXXX

                                                                                                                 From-To


28. Within 2 years before you flied for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties .

      •      No
      D      Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

•@lfW Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1    , and 357

Isl Peter M. Seltzer
Peter M. Seltzer                                                         Signature of Debtor 2
Signature of Debtor 1

 Date      July 21, 2019                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
•No
DYes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
•No
D Yes. Name of Person ___. Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Notice Required by 11 U.S.C. § 342(b} for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101 (8) as "incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose."                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under§ 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
         intentional injuries that you inflicted; and                                     of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Cu"ent                                         you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A-1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A-2).
                                                                                                       $1,167   filing fee
 If your income is above the median for your state, you
 must file a second form -the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A-2). The calculations on
                                                                                                       $1,717    total fee
 the form- sometimes called the Means Test-deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page2
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             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your d~bts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
+                   $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page3

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                                                                                          A married couple may fife a bankruptcy case
                                                                                          together-called a joint case. If you fife a joint case and
                                                                                          each spouse lists the same mailing address on the
                                                                                          bankruptcy petition, the bankruptcy court generally will
                                                                                          mail you and your spouse one copy of each notice,
                                                                                          unless you fife a statement with the court asking that
                                                                                          each spouse receive separate copies.

                                                                                          Understand which services you could receive from
                                                                                          credit counseling agencies

                                                                                          The law generally requires that you receive a credit
                                                                                          counseling briefing from an approved credit counseling
                                                                                          agency. 11 U.S.C. § 109(h). If you are fifing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you fife your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury-either orally or in writing-in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. ff you are
        fined, imprisoned, or both.                                                       fifing a joint case, both spouses must complete the
                                                                                          course.
        Alf information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the fist of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc approved.html
        other offices and employees of the U.S.
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
Make sure the court has your mailing address                                              http://www.uscourts.gov/FederafCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
The bankruptcy court sends notices to the mailing                                         AndDebtCounselors.aspx.
address you fist on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101 ). To ensure                                     ff you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the fist.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page4
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82030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                           Central District of California
 In re        Peter M. Seltzer                                                                                                       Case No.       1:19-bk-11696
                                                                                                    Debtor(s)                        Chapter        11

                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bania-. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept .......................................                                $                     5,000.00
              Prior to the filing of this statement I have received                                                              $                     5,000.00
              Balance Due                                                                                                        $                          0.00

2.     The source of the compensation paid to me was:

              •    Debtor             D Other (specify):
3.     The source of compensation to be paid to me is:

              •    Debtor             D Other (specify):

4.       •   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates ofmy law firm.

         D   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's fmancial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for p a ~ m:for representation of the debtor(s) in
this bankruptcy proceeding.                                                                 /                ~                    //'l,,
     July 21, 2019                                                                              ~'s-"/_M..,-"-'ic-"h'--,a-'-e'-'IH'-"-'--.R'-"a=•~c""h-"-el'-"s~o""n~----------
     Date                                                                                         Michael H. Raichelson 174607
                                                                                                  Signature ofAttorney
                                                                                                  Law Offices of Michael H. Raichelson
                                                                                                  21900 Burbank Blvd.
                                                                                                  Suite 300
                                                                                                  Woodland Hills, CA 91367
                                                                                                  818-444-7770 Fax: 818-444-7776
                                                                                                  mhr@cabkattorney.com
                                                                                                 Name of law jinn




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    Fill in this information to identify your case:
I



    Debtor 1          Peter M. Seltzer

    Debtor2
    (Spouse, iffiling)

    United States Bankruptcy Court for the:        Central District of California

    Case number       1:19-bk-11696                                                                     D Check if this is an amended filing
    if known


Official Form 1228
Chapter 11 Statement of Your Current Monthly Income                                                                                                           12/15

You must file this fonn if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this fonn. Include the line number to which the additional infonnation applies. On top of any additional pages, write your name and
case number (if known).
                 Calculate Your Current Monthly Income

     1. What is your marital and filing status? Check one only.


         •   Not married. Fill out Column A, lines 2-11.

         D Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         D Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.

      Fill in the average monthly income that you received from all sources, derived during the. 6 full months before you file this bankruptcy
      case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. lfthe amount
      of your monthly income varied during the 6 months, add the income for aU 6 months and divide the total by 6. Fill in the.result. Do not include any
      income amount more than once. For example, if both spouses own the same rental property,· put the income from that property in one column only. If
      you h.ave nothing to report for any line, write $0 in the space. ·
                                                                                                        Column A              Co/umnB
                                                                                                        Debtor 1              Debtor2


     2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
        payroll deductions).                                                           $                             0.00     $
                                                                                                                                  ------
     3. Alimony and maintenance payments. Do not include payments from a spouse if
        Column B is filled in.                                                                          $            0.00     $
     4. All amounts from any source which are regularly paid for household expenses
        of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not
        filled in. Do not include payments                                                 $                         0.00     $
                                                                                                                                  ------
     5. Net income from operating a
         business, profession, or fann
         Gross receipts (before all deductions)
         Ordinary and necessary operating expenses                                  0.00
        Net monthly income from a busine5.!!, Pf.()Je~1:;ign~_()r.f.iir111.l        0.00   Copy here -> $            0.00     $
                                                                                                            ------
     6. Net income from rental and
        other real property
         Gross receipts (before all deductions)




         Ordinary and necessary operating expenses                        -$        0.00
         Net monthly income from rental or other real property            $         0.00   Copy here -> $            0.00     $
                                                                                                            ------




Official Form 1228                                       Chapter 11 Statement of Your Current Monthly Income                                              page 1
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Debtor1       Peter M. Seltzer                                                                                         Case number (if known)   1 :19-bk-11696

                                                                                                                      ColurrinA                 ColumnB
                                                                                                                      Debtor1                   Debtor2

                                                                                                                      $         0.00            $
  7. Interest, dividends, and royalties                                                                                 ------
  8. Unemployment compensation
                                                                                                                        - - - - 0.00
                                                                                                                      $                         $
                                                                                                                                --                  ------
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you ____________________________________________________________________________________ $    0.00
          For your spouse____________________________________________________________________ $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                           $               0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                                      $ _ _ _ _ __              $ _ _ _ _ __

                                                                                                                       - - - - 0.00
                                                                                                                      $                         $- - - - - -
                                                                                                                               --
                     Total amounts from separate pages, if any.                                                    + $ - - - - 0.00
                                                                                                                               --
                                                                                                                                                $
                                                                                                                                                    ------
  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.




Official Form 122B                                                             Chapter 11 Statement of Your Current Monthly Income                                       page2
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Debtor 1    Peter M. Seltzer                                                                    Case number (if known)   1: 19-bk-11696




               Sign Below

            By signing here, under penal~declare that the inform lion on this statement and in any attachments is true and correct.

           X Isl Peter M. Seltzer                       ~~..............-.....-"'r---·
             Peter M. Seltzer
             Signature of Debtor 1

        Date July 21, 2019
             MM/DD /YYYY




Official Form 1228                                      Chapter 11 Statement of Your Current Monthly Income                                       page3
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                                                 Main Document    Page 43 of 43
Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
Michael H. Raichelson 174607
21900 Burbank Blvd.
Suite 300
Woodland Hills, CA 91367
818-444-7770 Fax: 818-444-7776
California State Bar Number: 174607 CA
mhr@cabkattorney.com




D Debtor(s) appearing without an attorney
•    Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                 CASE NO.: 1:19-bk-11696
            Peter M. Seltzer
                                                                                 CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                    [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of _3_ sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and o~ns.J.--

Date: July 21, 2019                                                                                                            ~A..Y~-\~~~:.:::::=-:t~~-
                                                                                       ~/s~/_.'..P~e:=:te~r~M~-~S~e~ltz~e~r___··
                                                                                         Signature of Debtor 1

Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                   ebtor)) (if applicable)

Date: July 21, 2019                                                                                                                        ~
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
